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Michael E. Stearns
Florida Bar No. 74349

§'“ILED

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J.B. Painting & Waterproofing, Inc.

Appearing Pro Hac Vice

Michael J. Glenn, SBN 89654

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Attorneys for Plaintiff

J.B. Painting & Waterproofing, Inc.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION

J.B. PAINTING & WATERPROOFING,
INC., a Florida corporation,

Plaintiff,
v.

RGB HOLDINGS, LLC d/b/a J.
RACENSTEIN COMPANY, a Delaware
limited liability company, and
BIO-CLEAN PRODUCTS, a California
company, ROBERT HARBORTH, an
individual, and JERRY DAVALLE,
an individual,

Defendants.

 

 

CASE NO. CV12-06084R(PJW)

COMPLAINT:

(1) BREACH oF IMPLIED wARRANT\.
UNDER MAGNUSoN-Moss wARRANTy
ACT, 15 u.s.c. §§ 2301-2312,-

(2) BREACH OF EXPRESS WARRANT
UNDER MAGNUSON-MOSS WARRANTY
ACT, 15 U.S.C. §§ 2301-2312;

(3) IMPLIED WARRANTY OF
MERCHANTABILITY, FLA. STAT. §
672.314 (SONG-BEVERLY CONSUME?
WARRANTY ACT: CAL. CIV. CODE §
1791.1(a), CAL. COM. CODE §
2314);

(4) IMPLIED WARRANTY OF FITNES§
FOR A PARTICULAR PURPOSE, FLA.
STAT. § 672.315 (SONG-BEVERLY

CONSUMER WARRANTY ACT: CAL. CIV.
CODE § l791.1(b), CAL. COM. COE`
§ 2315);

 

AMENDED COMPLAINT

~ Cal§,e 2:12-cv-06084-R-F,%.GW Document 6 Filed 10/23/12 Pa@e 2 of 19 Page |D #:31

 

 

y (5) BREACH oF ExPREss wARRANT“
1§ BY AFFIRMATION, PROMISE,
. DESCRIPTION, sAMPLE, FLA. sTAi.
2 § 672 313, cAL. coM. CODE '
2313);(6) sTRICT LIABILITY;
3
(7) NEGLIGENCE, NEGLIGENT
4 DESIGN, NEGLIGENT FAILURE To
wARN oF DEFECTS;
5
(8) BREACH oF IMPLIED wARRANT~
6 (coMMoN LAw);
7 (9) FRAUD AND MISREPRESENTATIO:\-
AND
8
(10) DECEPTIVE AND UNFAIR TRALx
9 PRACTICES AcT, FLA. sTAT. §
501.211
10
(11) BREACH 0F coNTRAcT
11
(12) CoMMoN LAw INDEMNITY
12
[DEMAND FoR JURY TRIAL]
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15
Plaintiff, J.B. PAINTING & wATERPRooFING, INC. (“J.B."), by a:¢
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17 through undersigned counsel, files this Amended Complaint and su»:,:~

18 Defendants, RGB HOLDINGS, LLC d/b/a J. RACENSTEIN COMPA§

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19 (“RACENSTEIN"), a Delaware limited liability company, BIO-CLEI.N
20
PRODUCTS, (“BIO-CLEAN PRODUCTS") , a California corporation, ROBE~'I'
211
§ HARBORTH, an individual, and JERRY DAVALLE, an individual, a:d
22'

23 alleges:

 

24 JURISDICTION AND VENUE

25 1. This Court has jurisdiction pursuant to ll U.S.C. § 1331 because
26 this action concerns a federal question under the Magnuson-Mc::s;
27 Warranty Act, 15 U.S.C. §§ 2301-2312. As to the state law claim::,
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AMENDED COMPLAINT

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21,
5 HARBORTH, was an individual located at 4083 Las Pasas Way, Sacrament7

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the amount in controversy exceeds the sum of $75,000.00 exclusi

jurisdiction pursuant to ll U.S.C. § 1367.

Beach, Broward County, FL 33442.

and 74 Henry Street, Secaucus, NJ 07094.

of California, and located in Sacramento, California.

CA 95834.

CA 95864.

this court has jurisdiction pursuant to ll U.S.C. § 1332 becat

of interest, costs and attorneys' fees, and is between citizens c

different states, and also has discretionary supplementa‘

2. At all times material to this action, Plaintiff, J.B. PAINT:HY
& WATERPROOFING, INC. was a Florida corporation duly authorized ;~
conduct business under the laws of the State of Florida, with ;.

principal place of business at 303 Jim Moran Boulevard, Deerfic_

3. At all times material to this action, Defendant, RGB HOLDING§
LLC d/b/a J. RACENSTEIN COMPANY, was a Delaware limited liabil:'
company duly authorized to conduct business under the laws of t:.
State of Delaware, and is also a foreign limited liability compa;
authorized to do business in California and New Jersey, having i;

principal place of business at 20925 Chico Street, Carson, CA 907=

4. At all times material to this action, Defendant, BIO-CLB

PRODUCTS, was a foreign corporation conducting business in the Sta'

6. At all times material to this action, Defendant, JERRY DAVALL%

was an individual located at 430 Parkfair, Apartment 37, Sacrament"

 

 

AMENDED COMPLAINT

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5. At all times material to this action, Defendant, ROBEi"

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7. BIO-CLEAN PRODUCTS, ROBERT' HARBORTH, and/Or JERRY` DAVAI;T

manufacture BIO-CLEAN for use on windows to remove water stains ar

deposits.

8. Venue is proper in the Central District of California base

on the residence of Defendants.
9. All conditions precedent to the bringing of this action he

occurred, have been performed or have been waived or excused.

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d

10. J.B. has retained STEARNS, ROBERTS, GUTTENTAG & ZELMER, P.».

as counsel in this matter, and is obligated to pay its reasonat

attorneys' fees.

GENERAL ALLEGATIONS

 

11. In connection with the manufacture of BIO-CLEAN, BIOCLEX

PRODUCTS, ROBERT'HARBORTH, and/Or~JERRY'DAVALLEIUade representatici

E?

about its product on its website, on the labels, and in its product

manuals. In addition, on or about June l, 1994, BIO-CLEAN PRODUCT:,

ROBERT HARBORTH, and/or JERRY DAVALLE issued its Material Safe'~

Data Sheet (“MSDS”) .

12. In connection with the distribution of BIO-CLEAN, RACENSTE;

made representations about BIO-CLEAN on its website, and distributi . :

materials.

13. BIO-CLEAN PRODUCTS, ROBERT HARBORTH, and/Or JERRY DAVALLE'

website indicates as follows:

Bio-Clean.is a line of commercial and residential cleaning
products containing non-chemical, non-acidic based
cleaning ingredients. Bio-Clean will cause no harm or
damage to skin if contacted. Bio-Clean is safe to use on
glass, shower doors, boats and even pots and pans! Most
importantly, it works better than you can imagine! Always
bet on Bio-Clean!

http://www.bio-cleanproducts.com (e.s.)

 

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14. RACENSTEIN's website indicates:
BioClean Water Stain Remover is used for easy removal of

hard water stains, cement leaching, sprinkler stains and

runoff. No harsh chemicals or unpleasant odors. Easy

to apply paste.

www.jracenstein.com (e.s.)
15. At all material times to this action, J.B. relied on t¢e
representations made by BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JEF€Y
DAVALLE and/or RACENSTEIN, including the MSDS.
16. A defect was present in BIO-CLEAN that existed at the tire
BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/»r
RACENSTEIN, parted possession with BIO-CLEAN.
17. On or about June 24, 2008, GATEWAY CENTER, a 17-story offi c
building located at 1000 Legion Place, Orlando, Florida, hired J.J.
to remove water stains and deposits from the windows (“windows” .
18. On or about June 2008, J.B. purchased from RACENSTEIN the prodt::'..
BIO-CLEAN.
19. In order to remove the water stains and deposits, J.B. soug t
and obtained the professional advice and recommendation.of BIO-CLE;A

PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/Or RACENSTEIf,

concerning the type of product to use to achieve that goal.

l

20. BIO~CLEAN PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/an
RACENSTEIN recommended the product BIO-CLEAN to accomplish the
effective and safe removal of the water stains and deposits fr;m
the Windows.

21. BIO~CLEAN PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/t

w

RACENSTEIN, engaged in advertising activity concerning BIO-CLEA;,

by inter alia, making misrepresentations in their advertising thz‘

f

BIO-CLEA.N product would effectively remove water stains and deposit:' ,

and was safe for use on Windows.

 

 

 

 

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22. J.B. relied on the advertising of RACENSTEIN, BIO-CLE:N

PRODUCTS, ROBERT HARBORTH, and/Or JERRY DAVALLE in purchasing ar

l),

applying BIO-CLEAN on the Windows.

23 . AS a direct result Of BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JEPS

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DAVALLE and/or RACENSTEIN’s recommendations and advertising, J.
purchased BIO-CLEAN from RACENSTEIN and applied the BIO~CLEAN 'o

the exterior Windows from June 24, 2008, to December 16, 2008, f

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a period of 2 , 521 hours, in accordance with the product specificatic;'

L')

and instructions.

24. On or about March 2009, J.B. was notified that the windows f:

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which BIO-CLEAN was applied exhibited surface scratches aftz

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application which were not present prior to the usage of BIO-CLEA&.

25. After various attempts at removal of the surface conditicis

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left by BIO-CLEAN failed, on April 4, 2009, J.B. retained t:t
professional services of Wiss, Janney, Elstner Associates, In:.
(WJE), and their team of materials scientists for laboratory, fie;j
testing and analysis of the Windows and the BIO~CLEAN product. W;R
performed laboratory studies on the glass and its surface condition.,,
including visual and microscopic examination. Following i,s
extensive examination, WJE concluded that the swirling surface
patterns were caused by the usage of BIO-CLEAN.

26. As a result, from September 1, 2009, to February 2, 2010, J.l.
performed 3,299 hours of remediation services to correct the inju y
caused by the usage of BIO-CLEAN, and incurred damages for addition» ;

labor, services and materials in the amount of $169,122.23.

 

 

AMENDED COMPLAINT

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F”\ fmi
COUNT I
BREACH OF IMPLIED WARRANTY
UNDER MAGNUSON-MOSS WARRANTY ACT
15 U.S.C. §§ 2301-2312

Plaintiff reavers and realleges the allegations set forth ‘n
paragraphs 1 through 26 above, and further alleges that:
27. J.B. purchased the product from RACENSTEIN for use to remc c
water stains and deposits from the Windows.
28. BIO-CLEALIwas defective before it left the control of BIO-CLEFN
PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/Or RACENSTEIN.
29. The defect of BIO-CLEAN caused the injuries or damage to t;e
Windows.
30 . J.B. was a foreseeable user of BIO-CLEAN, and J.B. was in privity
with RACENSTEIN.
31. J.B. relied on the oral statements and representations
BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/:r
RACENSTEIN, and its written labels and/or advertisements and MS$S
statement.
32. J.B. used BIO-CLEAN in the intended manner on the Windows
the time the damages occurred.
33. BIO-CLEAN, WaS manufactured by BIO~CLEAN PRODUCTS, and sold
by RACENSTEIN.
34. As a result, BIO-CLEAN proximately caused injuries to J.B.,
and has been damaged in the amount of $169,122.23, plus intere:t
and costs.

WHEREFORE, Plaintiff demands judgment against Defendants,
RACENSTEIN, ROBERT HARBORTH, JERRY DAVALLE and/Or BIO-CLE N
PRODUCTS, as a result of Defendants' breach of implied warranty

the amount of $169,122.23, plus interest, costs of litigatio ,

 

 

 

AMENDED COMPLAINT

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attorneys' fees pursuant to 15 U.S.C. § 2310(d)(2), and any oth;

relief this Court deems proper.

COUNT II
BREACH OF EXPRESS WARRANTY
UNDER MAGNUSON-MOSS WARRANTY ACT
15 U.S.C. §§ 2301-2312

Plaintiff reavers and realleges the allegations set forth

` paragraphs l through 26 above, and further alleges that:

35. BIO-CLEAN PRODUCTS, RACENSTEIN, ROBERT HARBORTH, and/F

l JERRY DAVALLE created an express warranty by affirming, promisi;<

or describing that BIO-CLEAN would remove water stains and deposi:
and was safe for application on windows.
36. J.B. relied On BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JER:~7

DAVALLE, and/or RACENSTEIN statements, which became part of the bas:

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of the bargain that BIO-CLEAN conforms to that affirmation, promis ,

or description.

37. PurSuant tO 15 U.S.C. § 2310, BIO-CLEAN, ROBERT HARBORTE,

JERRY'DAVALLE and/or RACENSTEIN were required to warrant its produ;;

by means of written warranty that met the Federal minimum standard:

including but not limited to:

(1) such warrantor must as a minimum remedy such consumer produ:: t

within a reasonable time and without charge, in the case

a defect, malfunction, or failure to conform with such writt::

warranty;

(2) notwithstanding section 2308(b) of this title, suth

warrantor may not impose any limitation on the duration of at

implied warranty on the product;

(3) such warrantor may not exclude or limit consequenti.

damages for breach of any written or implied warranty on su;
product, unless such exclusion or limitation conspicuous;

appears on the face of the warranty; and

(4) if the product (or a component part thereof) contains
defect or malfunction after a reasonable number of attempt

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AMENDED COMPLAINT

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Case 2:12-cv-O6084-R-B6W Document 6 Filed 10/23/12 P,age 9 of 19 Page |D #:38

by the warrantor to remedy defects or malfunctions in such

product, such warrantor must permit the consumer to elect eith-:
a refund for, or replacement without charge of,

such produ:

or part (as the case may be). The Commission may by rule specif

for purposes of this paragraph, what constitutes a reasonab.
number of attempts to remedy particular kinds of defects

malfunctions under different circumstances.
replaces a component part of a consumer product,

without charge,

38. Pursuant to 15 U.S.C. § 2310,

If the warrant'

such
replacement shall include installing the part in the produz“

BIO-CLEAN PRODUCTS, ROBE]F

HARBORTH, JERRY DAVALLE and/Or RACENSTEIN are liable to pay damage;

costs and expenses, including reasonable attorneys' fees.

WHEREFORE, Plaintiff demands judgment against Defendant'

RACENSTEIN, ROBERT HARBORTH,

JERRY DAVALLE

and/or

BIO-CLE&

PRODUCTS, as a result of Defendants' breach of express warranty

the amount of $169,122 23, plus interest,

attorneys' fees pursuant to 15 U.S.C.

relief this Court deems proper.

COUNT III

costs of litigatic;

§ 2310(d)(2),

IMPLIED WARRANTY OF MERCHANTABILITY

 

FLA. STAT. § 672.314

 

and any oth7

(SONG-BEVERLY CONSUMER WARRANTY ACT: CAL. CIV. CODE. § 1791.1(a)
CAL. COM. CODE § 2314)

 

Plaintiff reavers and realleges the allegations set forth

paragraphs l through 26 above, and further alleges that:

39. RACENSTEIN iseimerchant with respect to goods of the like-ki'

products as BIO-CLEAN.

40. RACENSTEIN entered into a contract for the sale of BIO-CLE§?

tO J.B.

41. BIO-CLEAN PRODUCTS,

§ RACENSTEIN provided an

ROBERT' HARBORTH,

implied warranty

JERRY DAVALLE and/1

that

BIO-CLEAN

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merchantable for use to remove water stains and deposits from window ; .

 

AMENDED COMPLAINT

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42. J.B., as a window contractor for a commercial building, w:

a foreseeable user of BIO-CLEAN.

and deposits.

fit to the ordinary purpose, was not adequately labeled, and d

it was safe to use on glass,

application of BIO-CLEAN, caused damages to the windows.

. RACENSTEIN, ROBERT HARBORTH, JERRY DAVALLE and/Or BIO-CLEf

PRODUCTS, as a result of Defendants' breach of implied warranty

not to exceed two times the amount of actual damages, interest, cos

proper.

COUNT IV
IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPO$E
FLA. STAT. § 672.315

 

 

CAL. COM. CODE § 2315

 

Plaintiff reavers and realleges the allegations set forth

paragraphs l through 26 above, and further alleges that:

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43. At the time of the injury, J.B. used BIO~CLEAN in the intenc»

manner in applying BIO-CLEAN to the Windows to remove water stai.s

44. BIO~CLEAN PRODUCTS, ROBERT' HARBORTH, JERRY DAVALLE and/1

not conform to the promises or affirmations of fact made in relati;

45. BIO-CLEAN was defective, and as a puoximate cause of t.

merchantability in the amount of $169,122.23, plus civil penaltiv

of litigation, attorneys' fees, and any other relief this Court dee…~

HARBORTH, JERRY DAVALLE and/Or RACENSTEIN had reason tO know t

 

 

 

AMENDED COMPLAINT

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RACENSTEIN breached that implied warranty because BIO-CLEAN did n;;

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to the products ability to clean water stains and deposits, and th¢;

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§ .

WHEREFORE, Plaintiff demands judgment against Defendant;,

§

SONG-BEVERLY CONSUMER WARRANTY ACT: CAL. CIV. CODE. § 1791.1(b),

46. AtthetimeJ.B.purchasedBIO-CLEAN,BIO-CLEANPRODUCTS,ROBE}T

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to remove water stains and deposits.

47. At the time J.B. purchased BIO-CLEAN, BIO-CLEAN PRODUCTS, ROBE'

536 2212-CV-O6084-R-F/§_,J,\(\/ DOCUment 6 Filed 10/23/12 P,a@_e 11 Of 19 Page |D #240

l particular purpose that BIO~CLEAN was required was to apply to windc. s

HARBORTH, JERRY DAVALLE and/OI'RACENSTEIN knew that J.B. was relyi g

on the BIO-CLEAN PRODUCTS and RACENSTEIN’ s skill or judgment to sele;, 1;

or furnish suitable goods.

48. AS SuCh, BIO-CLEAN PRODUCTS,

and/or RACENSTEIN granted an implied warranty that the BIO-CLEF

was it for the particular purpose of applying the product to windoi:

to remove water stains and deposits.

49. BIO-CLEAN PRODUCTS,

ROBERT HARBORTH,

JERRY DAVALLE and/F

ROBERT HARBORTH, JERRY DAVALtH

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t

RACENSTEIN breached that implied warranty because BIO-CLEAN did nut

fit to the particular purpose,

and as a proximate cause of t;:

application of BIO-CLEAN, caused damages to the Windows.

WHEREFORE, Plaintiff demands judgment against Defendant

RACENSTEIN, ROBERT HARBORTH,

JERRY DAVALLE and/Or BIO-CLE€

PRODUCTS, as a result of Defendants' breach of implied warranty ~

fitness for a particular purpose in the amount of $169,122.23, pl,

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civil penalties not to exceed two times the amount of actual damage ,

interest, costs of litigation, attorneys' fees, and any other reli@

this Court deems proper.

C_O_M
BREACH OF EXPRESS WARRANTY

 

BY AFFIRMATION,

CAL.

PROMISE,
FLA. STAT.

COM.

CODE.

§ 2313

DESCRIPTICN, SAMPLE
§ 672.313

Plaintiff reavers and realleges the allegations set forth

paragraphs 1 through 26 above, and further alleges that:

50. BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/Or ai'

RACENSTEIN created an express warranty by affirming, promising

AMENDED COMPLAINT

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describing that BIO-CLEAN would remove water stains and depos;,s
and was safe for application on windows.

51. J.B. relied On BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JE?YY
DAVALLE and/or RACENSTEIN's statements, which became part of r:o
basis of the bargain that BIO-CLEAN conforms to that affirmatic ,
promise, or description.

52. BIO-CLEAN PRODUCTS, ROBERT HARBORTH, JERRY DAVALLE and/ur
RACENSTEIN breached that express warranty because BIO~CLEAN did ret
conform to the benefit of the bargain, and as a proximate cause of

the application of BIO-CLEAN, caused damages to the Windows.

WHEREFORE, Plaintiff demands judgment against Defendantz
RACENSTEIN, ROBERT HARBORTH, JERRY DAVALLE and/or BIO-CLERN
PRODUCTS, as a result of Defendants' breach of express warranty ny
affirmation, description, promise or sample, in the amount 'i
$169,122.23, plus civil penalties not to exceed two times the amount
of actual damages, interest, costs of litigation, attorneys' fees,
and any other relief this Court deems proper.

COUNT VI
STRICT LIABILITY

Plaintiff reavers and realleges the allegations set forth 7n
paragraphs l through 26 above, and further alleges that:
53. BIO-CLEAN is the “injury-producing” product to the Windows.
54. J.B. use of the product was foreseeable.
55. BIO~CLEAN is defective and unreasonably dangerous.
56. RACENSTEIN, ROBERT HARBORTH, JERRY DAVALLE and/or BIO-CLE»N
PRODUCTS had actual and/or constructive knowledge of BIO-CLEAN s

defect and dangerous condition.

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AMENDED COMPLAINT

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57. RACENSTEIN, ROBERT HARBORTH, JERRY DAVALLE and/Or BIO-Cb£u

PRODUCTS failed to warn J.B. that the product could permanentl
scratch the windows, which created an unreasonable risk to J.B.
58. As a result, BIO-CLEAN proximately caused injuries to J.B.
and has been damaged in the amount of $169,122.23, plus intere:
and costs.

WHEREFORE, Plaintiff demands judgment against Defendant

RACENSTEIN, ROBERT HARBORTH, JERRY DAVALLE and/Or and BIO-CLEA

Y

PRODUCTS, as a result of Defendants' strict liability in the amount

of $169,122.23, plus interest, costs of litigation, and any othe

relief this Court deems proper.

COUNT VII
NEGLIGENCE
NEGLIGENT DESIGN
NEGLIGENT FAILURE TO WARN OF DEFECTS

 

Plaintiff reavers and realleges the allegations set forth ,
paragraphs 1 through 26 above, and further alleges that:
59. RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or JER§
DAVALLE owed a duty of care to J.B. to inspect the product BIO~CLEf

because the nature of the product was such that damage from its u:

was foreseeable, and tests were practicable and would have been

effective.

60. RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/Or JER§:

DAVALLE breached their duty of care by failing to test BIO-CLEL
for usage on windows to remove water stains and deposits, and failif
to warn of product defects that could cause damage to windows.

61. As a result, BIO-CLEAN proximately caused injuries to J.B.
and has been damaged in the amount of $169,122.23, plus intere:

and costs.

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WHEREFORE, Plaintiff demands judgment against Defendants,

RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/Or JEFl

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DAVALLE, as a result of Defendants' negligence in the amount of
$169,122.23, plus interest, costs of litigations and.any other relief

this Court deems proper.

COUNT VIII
BREACH OF IMPLIED WARRANTY
(COMMON LAW)

Plaintiff reavers and realleges the allegations set forth .n
paragraphs l through 26 above, and further alleges that:
62. J.B. purchased the product from RACENSTEIN for use to remove
water stains and deposits from the Windows.
63. BIO~CLEAN was defective before it left the control di
RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or JEFHY
DAVALLE.
64. The defect of BIO-CLEAN caused the injuries or damage to the
Windows.
65. J.B. was a foreseeable user of BIO-CLEAN, and J.B. was in privi :.y
with RACENSTEIN.
66. J.B. used BIO-CLEAN in the intended manner on the Windowo at
the time the damages occurred.

67. BIO-CLEAN, was manufactured jby' BIO-CLEAN PRODUCTS, ROBERT

 

225 HARBORTH, and/Or JERRY DAVALLE and Sold by RACENSTEIN.
23: 68. As a result, BIO-CLEAN proximately caused injuries to J.E.,
24 and has been damaged in the amount of $169,122.23, plus interest
25 and costs.
26 WHEREFORE, Plaintiff demands judgment against Defendanty,
27 RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or JERQY
28 DAVALLE, as a result of Defendants' breach of implied warranty :n
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the amount of $169,122.23, plus interestl costs of litigation, pin

any other relief this Court deems proper.

COUNT IX
FRAUD AND MISREPRESENTATION

 

Plaintiff reavers and realleges the allegations set fo; h
in paragraphs 1 through 26 above, and further alleges that:
69. RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or JE ?Y
DAVALLE represented that its product BIO-CLEAN was safe for use an
Windows in the removal of water stains and deposits.
70. BIO-CLEAN PRODUCTS, ROBERT HARBORTH, and/Or JERRY DAVALLE`$

website indicates as follows:

Bio-Clean.is a line of commercial and residential cleaning
products containing non-chemical, non-acidic based
cleaning ingredients. Bio-Clean will cause no harm or
damage to skin if contacted. Bio-Clean is safe to use on
glass, shower doors, boats and even pots and pans! Most
importantly, it works better than you can imagine! Always
bet on Bio~Clean!

http://www.bio-cleanproducts.com (e.s.)

71. RACENSTEIN's website indicates:

BioClean Water Stain Remover is used for easy removal of
hard water stains, cement leaching, sprinkler stains and
runoff. No harsh chemicals or unpleasant odors. Easy
to apply paste.

www.jracenstein.com (e.s.)

72. J.B. relied on thelnisrepresentations of RACENSTEIN,
BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or JERRY DAVALLE,
73. As a result, BIO-CLEAN proximately caused injuries to J . B. ,

and has been damaged in the amount of $169, 122 . 23, plus interest

‘ and costs.
26'

wHEREFORE, Plaintiff demands judgment against Defendants,
RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/Or JERRY
DAVALLE, as a result of Defendants' fraud and misrepresentation

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in the amount of $169,122.23, plus interest, costs of
litigation, and any other relief this Court deems proper.
COUNT X

DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
FLA. STAT. § 501.211

 

Plaintiff reavers and realleges the allegations set forth
in paragraphs l through 26 above, and further alleges that:
74. RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or
JERRY DAVALLE engaged in unlawful, unfair, unconscionable
deceptive acts or'practices in the course of trade and commerce.
Specifically, RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH
and/or JERRY DAVALLE misrepresented and/or falsely advertised
to J.B. that BIO-CLEAN would remove any water stains and deposits
without disclosing the fact that the use of BIO-CLEAN would
damage the windows.

75. RACENSTEIN, BIO~CLEAN PRODUCTS, ROBERT HARBORTH and/or
JERRY DAVALLE knew or should have known that their conduct was
unlawful, unfair, unconscionable or deceptive.

76. RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or
JERRY DAVALLE knew that its representations and advertising
were false.

77. RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or
JERRY DAVALLE willfully violated the laws of Florida.

78. As a result, BIO-CLEAN proximately caused injuries to J.B. ,
and has been damaged in the amount of $169, 122 .23, plus interest
and costs.

79. J.B. is entitled to recovery of attorneys' fees pursuant

to Section 501.2105 of the Florida Statutes.

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WHEREFORE, Plaintiff demands judgment against Defendants,
RACENSTEIN, BIO-CLEAN PRODUCTS, ROBERT HARBORTH and/or JERRY
DAVALLE, as a result of Defendants' unfair trade practices in

theamount<n5$169,122.23,plusinterest,attorneys'fees,costs

v of litigation, and any other relief this Court deems proper.

COUNT XI
BREACH OF CONTRACT

 

Plaintiff reavers and realleges the allegations set forth
in paragraphs 1 through 26 above, and further alleges that:

80. J.B. entered into a contract with RACENSTEIN for the

4 purchase of BIO-CLEAN PRODUCTS, specifically to use to safely

remove water stains and deposits from the Windows.
81. RACENSTEIN represented that BIO-CLEAN was safe for Windows
and that it would remove water stains and deposits from the
Windows.
82. J.B. used BIO-CLEAN in the intended manner on the Windows;
nevertheless, the use of BIO-CLEAN damaged the Windows.
83. By failing to deliver a product that safely removed water
stains and deposits from the Windows, RACENSTEIN breached its
contract with J.B.
84 . As a result, BIO-CLEAN proximately caused injuries to J.B. ,
and has been damaged in the amount of $169, 122 . 23, plus interest
and costs.

WHEREFORE, Plaintiff demands judgment against Defendant,
RACENSTEIN for'brear¢iof contract in the amount of $169,122.23,
plus interest, costs of litigation, attorneys' fees, and any

other relief this Court deems proper.

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COUNT XII
COMMON LAW INDEMNITY

 

Plaintiff reavers and realleges the allegations set forth
in paragraphs 1 through 26 above, and further alleges that:
85. J.B. entered into a contract with RACENSTEIN in reliance
on its special and unique abilities as distributor of BIO-CLEAN,
a product that RACENSTEIN represented would safely remove water
stains and deposits from Windows, and RACENSTEIN accepted the
special relationship of trust and confidence with J.B. to
perform such services.

86. RACENSTEIN owed a duty to J.B. to distribute a product
that would not cause defects or damages to the Windows upon
which BIO-CLEAN was applied.

87. RACENSTEIN failed to discharge this duty to J.B.

88. RACENSTEIN is negligent and wholly at fault for any such
alleged damages and defects.

89. J.B.'s liability is purely vicarious, constructive,
derivative or technical to that of RACENSTEIN,

90 . As a result of the alleged acts, J.B. has suffered damages,
and RACENSTEIN is obligated to indemnify J.B.

91. J.B. is entitled to recover reasonable attorneys' fees
from RACENSTEIN,

WHEREFORE, J.B. demands judgment against RACENSTEIN for
indemnity of all damages in the amount of $169,122.23, plus
interest, costs of litigation, and attorneys' fees, any other

relief this Court deems proper.

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JURY DEMAND

Plaintiff demands a jury trial for issues so triable.

Respectfully submitted this /<§ day of October, 2012.

STEARNS ROBERTS, GUTTENTAG & ZELMER,
P.A.

Attorneys for Plaintiff

Appearing Pro Hac Vice

      

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